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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN THE MATTER OF THE TAX
 LIABILITIES OF:

 JOHN DOES, United States taxpayers who, at any           Case No. 24 Misc. 594
 time during the years ended December 31, 2014,
 through December 31, 2023, used the services of          NOTICE OF FILING OF EX
 the Trident Trust Group, including its predecessors,     PARTE PETITION FOR LEAVE
 subsidiaries, divisions, affiliates, and associates to   TO SERVE “JOHN DOE”
 establish, maintain, operate, or control any foreign     SUMMONSES
 financial account or other foreign asset; any foreign
 corporation, company, trust, foundation or other
 legal entity; or any foreign or domestic financial
 account or other asset in the name of such foreign
 entity.


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

supporting Declaration of Randy Hoozcko, the United States of America, by its attorney, Edward

Y. Kim, Acting United States Attorney for the Southern District of New York, has filed this ex

parte petition pursuant to Section 7609(f) of the Internal Revenue Code, 26 U.S.C. § 7609(f), for

leave to serve Internal Revenue Service “John Doe” summonses (collectively, the “Summonses”)

upon FedEx Corporation; DHL Express (USA), Inc.; United Parcel Service, Inc.; the Federal

Reserve Bank of New York; The Clearing House Payments Company LLC; HSBC Bank USA,

National Association; The Bank of New York Mellon Corporation; Wells Fargo Bank, National




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Association; Citibank, National Association; UBS AG; Bank of America, National Association;

Deutsche Bank Trust Company Americas; and Nevis Services Limited.

       The Court’s determination on the United States’ petition “shall be made ex parte and

shall be made solely on the petition and supporting affidavits.” 26 U.S.C. § 7609(h)(2). Because

the pleadings filed in this proceeding will not be served upon any person or entity and no other

filings are permitted from other persons or entities, this petition is ripe for the Court’s

consideration. The United States respectfully requests that the Court review its petition and

supporting documents and enter the proposed Order at the Court’s earliest opportunity.

Dated: New York, New York
       December 17, 2024
                                               EDWARD Y. KIM
                                               Acting United States Attorney for the
                                               Southern District of New York

                                       By:     s/ Anthony J. Sun
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